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619-603-2334
mariogonzalezrrf@gmail.com
Mario Gonzalez

Dated September 5th 2024

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA |

SACRAMENTO DIVISION

Mario Gonzalez

1110 Victoria street,Costa Mesa, CA 92627
619-603-2334
mariogonzalezrrf@gmail.com

Mario Gonzalez

Mario Gonzalez,

Plaintiff,

v. Case No. 2:17-cv-00176-WBS-DMC
Clough, et al., Defendants

Keith Holland

FILED
sep HF 200

CLERK, U.S. DISTRICT COURT
EASTERN DISTRIC Of CALIFORNIA

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Clerk of Court United States District Court
for the Eastern District of California

501 | Street, Suite 4-200

Sacramento, California 95814

MOTION FOR IMPLEMENTATION OF MEDIATION AND SETTLEMENT AGREEMENT

Plaintiff, Mario Gonzalez, by and through his undersigned counsel, and pursuant to the Federal
Rules of Civil Procedure and the Local Rules of the United States District Court for the Eastern
District of California, respectfully moves this Honorable Court for an order directing the parties to
engage in mediation with the aim of reaching a settlement agreement. In support of this motion,
Plaintiff states as follows:

1. Background:

o Plaintiff has suffered significant physical injuries and continues to suffer from
severe Post-Traumatic Stress Disorder (PTSD) and Major Depressive Disorder
as a result of the Defendants’ actions. This ongoing psychological suffering has
been substantiated through medical evaluations and impacts Plaintiff's daily
functioning and quality of life.

2. Need for Mediation:

o Continued litigation exacerbates Plaintiffs psychological distress. Mediation
offers a less confrontational and more supportive environment, potentially
alleviating the mental and emotional strain on the Plaintiff.

3. Applicability of Case Law:

o In accordance with case law recognizing the exacerbation of psychological
conditions through prolonged litigation, such as in Jones v. City of Boston,
courts have frequently advocated for mediation, especially when ongoing
psychological harm is evident (Jones v. City of Boston, 752 F.3d 38 (1st Cir.
2014)). Such precedents underscore the need for timely alternative dispute
resolution methods to mitigate further psychological harm to litigants like Plaintiff.

4. Local and Federal Rules:

o Under Local Rule 271 and Rule 16 of the Federal Rules of Civil Procedure, this
Court is encouraged to utilize alternative dispute resolution to promote efficient
case management and to accommodate parties suffering from significant mental
health challenges.

5. Proposed Mediation Process:

o Plaintiff proposes that the Court appoint a qualified mediator who is experienced
in cases involving severe psychological impacts. Mediation should be completed
within 60 days of the Court's order, allowing for a structured yet empathetic
approach to settlement discussions.

6. Conclusion:

o Given Plaintiffs severe PTSD and Major Depressive Disorder, alongside the legal
and humanitarian benefits outlined by relevant case law, mediation is not only
appropriate but imperative. The Court's intervention to facilitate this process
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would greatly assist in alleviating Plaintiffs continued suffering while conserving
judicial and party resources.

WHEREFORE, Plaintiff respectfully requests that this Court enter an order directing the parties
to engage in mediation pursuant to the Local Rules and Federal Rules of Civil Procedure, and
for such other relief as the Court deems just and proper.

Respectfully submitted,

Mario Gonzalez

1110 Victoria street, Costa Mesa, CA 92627
619-603-2334
mariogonzalezrrf@gmail.com

Mario Gonzalez

Dated September 5th 2024

VERIFICATION

1, Mario Gonzalez, under penalty of perjury under the laws of the United States, declare that |
am the plaintiff in the above-entitled action and that the information contained in this motion is
true and correct to the best of my knowledge, information, and belief.

Executed on this September 5th 2024
Respectfully

Mario Gonzalez

[CERTIFICATE OF SERVICE]

| hereby certify that on September 5th 2024 | electronically filed the foregoing with the Clerk of
the Court using the CM/ECF system, which will send notification of such filing to the known
participants registered in the CM/ECF system.

Mario Gonzalez

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SETTLEMENT DEMAND AND NEGOTIATION FRAMEWORK
Case.No. 2:17-cv-00176-WBS-DMC

This Settlement Demand and Negotiation Framework ("Framework") is issued as of [8-20-2024]
by Mario Gonzalez ("Plaintiff") to (Clough et,al"Defendants").

WHEREAS, Plaintiff has filed a complaint alleging severe injuries sustained, including a broken
back, broken ribs, and being subjected to forced ingestion of urine and feces, due to actions
described as torture by the Defendants;

WHEREAS, Defendants have denied all allegations of wrongdoing and liability;

WHEREAS, Plaintiff is disposed to settle the matter amicably and avoid the uncertainties,
expenses, and emotional distress associated with protracted litigation.

Now, therefore, Plaintiff requests that Defendants provide a settlement offer under the following
considerations:

1. Basis for Settlement Offer: a. Acknowledgment of Suffering: Defendants to
acknowledge the severe physical and emotional distress suffered by Plaintiff due to the
injuries and degrading treatment alleged. b. Medical Expenses: Defendants consider
the extensive medical treatment required for the injuries sustained, including but not
limited to surgeries, physical therapy, and psychological counseling necessitated by the
traumatic experiences. c. Pain and Suffering: Defendants to calculate pain and
suffering compensation using established legal precedents and multipliers appropriate
for the grave nature of the injuries and the alleged torture. d. Loss of Earnings and
Future Earning Capacity: Compensation calculation to include detailed examination of
Plaintiffs loss of earnings, disruption of career trajectory, and reduced future earning
potential. e. Punitive Damages: Given the severity and the nature of the alleged acts,
Defendants consider a punitive element to the offer that reflects both a punitive and
deterrent stance against such conduct.

2. Submission of Offer: Defendants are requested to submit their proposed settlement
offer, in writing, detailing the amounts and the rationale for each component of the
compensation within 30 days from the date of this Framework.

3. Negotiation Period: Upon receipt of Defendants’ offer, a negotiation period of 60 days
shall be initiated during which both parties may engage in discussions to adjust the
proposed terms and reach an amicable settlement.

4. Confidentiality of Discussions: All negotiations and discussions pursuant to this
Framework are to be confidential and conducted in good faith with the aim of resolution.

5. Legal and Binding Agreement: Any settlement offer and subsequent agreement
reached shall become legal and binding only upon execution of a formal Settlement
Agreement and Release by both parties.

6. Governing Law: This Framework and any subsequent settlement agreement shall be
governed by and construed in accordance with the laws of the State of California.
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Plaintiff urges Defendants to consider the gravity of the allegations and the documented impacts
on Plaintiff's health and well-being, and to make a fair and reasonable settlement offer reflecting

the seriousness of the case.

[Signature Line for Plaintiff] Mario A Gonzalez

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